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                 Exhibit 2
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 23-21023-CIV-ALTONAGA/Damian

     EDWIN GARRISON, et al., on behalf of
     themselves and all others similarly situated,

            Plaintiff(s),

     v.

     KEVIN PAFFRATH, GRAHAM STEPHAN,
     ANDREI JIKH, JASPREET SINGH, BRIAN
     JUNG, JEREMY LEFEBVRE, TOM NASH,
     BEN ARMSTRONG, ERIKA KULLBERG,
     CREATORS AGENCY, LLC,

           Defendant(s).
     _____________________________________/

                            DEFENDANT JASPREET SINGH’S RESPONSES
                              AND OBJECTIONS TO PLAINTIFFS’ FIRST
                            SET OF SEVEN REQUESTS FOR PRODUCTION

           Defendant Jaspreet Singh (“Defendant Singh”) responds to and objects to Plaintiffs’ First

    Requests for Production (“Document Requests”) as set forth below. The following Responses and

    Objections to Requests for Production are made solely for the purposes of this action.

           No incidental or implied admissions are intended by these Responses. The fact that

    Defendant Singh has objected to or responded to any Document Request shall not be deemed as

    admission that Defendant Singh accepts or admits the existence of any fact set forth or assumed

    by such Document Requests or that such objection or Responses constitutes admissible evidence.

    The fact that Defendant Singh has responded to part or all of any Document Request is not intended

    to and shall not be construed to be a waiver by Plastipak of any part of any objection to the

    Document Requests.

           These Responses and objections are made based on information and writings currently
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    available to, located by, and understood by Defendant Singh upon reasonable investigation.

    However, given the broad nature of these Document Requests, new information may be discovered

    by Plastipak as time passes. Therefore, Defendant Singh expressly reserves the right to modify,

    revise, supplement, or amended their Responses as they deem appropriate.

                                        GENERAL OBJECTIONS

           1.      Defendant Singh objects to the Document Requests on the basis that said Requests

    are contrary to the Court’s May 19, 2023 Order allowing for jurisdictional discovery on personal

    jurisdiction only (Doc. No. 96). Plaintiffs’ Document Requests are not limited to issues pertaining

    to personal jurisdiction, and instead, go to liability issues, which are outside of the limited personal

    jurisdictional discovery ordered by Court at this time.

           2.      Defendant Singh objects to the Document Requests to the extent that they are overly

    broad and unduly burdensome.

           3.      Defendant Singh further objects to each instruction, definition, and Document

    Request to the extent that it purports to impose any requirement or discovery obligation greater

    than or different from those under the Federal Rules of Civil Procedure and the applicable Local

    Rules and Orders of the Court.

           4.      Defendant Singh further objects to the Document Requests to the extent that they

    assume facts that are not in evidence, contain terms that are ill-defined, and are based on a false

    premise.

           5.      Defendant Singh objects to the Document Requests to the extent that they seek

    information that is protected from disclosure by the attorney-client privilege, the attorney work

    product doctrine, or any other recognized privilege.




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           6.      Defendant Singh objects to the Document Requests to the extent that they require

    him to search for and produce documents or information that are not within his possession,

    custody, or control.

           7.      Defendant Singh objects to the Document Requests to the extent that they seek

    information or documents that cannot be located by Defendant Singh after reasonably diligent

    inquiry, are readily available from public sources, or are available to Plaintiffs from another source

    or by other means that are more convenient, more appropriate, less burdensome, or less expensive.

           8.      Defendant Singh objects to the Document Requests to the extent that they seek legal

    conclusions and/or would require him to reach a legal conclusion in order to prepare a Response.

           9.      Defendant Singh objects to the Document Requests to the extent that they are overly

    broad, not relevant, immaterial, argumentative, prejudicial, improper, incorrect, vague, and/or

    ambiguous.

                RESPONSES TO REQUESTS FOR PRODUCTION OF DOCUMENTS

    REQUEST 1

           1.      All Documents and Communications, including contracts or agreements, regarding

    any business You (personally or through any entity owned by You, or any of Your or Your entities’

    affiliates, representatives, employees or agents) conducted with FTX Entities, including all

    documents and communications regarding any payments made to You (personally or to any entity

    owned by You, or any of Your or Your entities’ affiliates, representatives, employees or agents)

    in accordance with any such contract or agreement.

    RESPONSE TO REQUEST 1:

           Defendant Singh objects to this Document Request on the basis that this Request is contrary

    to the Court’s May 19, 2023 Order allowing for jurisdictional discovery on personal jurisdiction



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    only (Doc. No. 96). Neither Defendant Singh nor any of the defined “FTX Entities” are Florida-

    based and thus this request is facially irrelevant to personal jurisdiction and instead improperly

    goes beyond that to merits issues. Defendant Singh further objects to this Request on the basis

    that it is overly broad, unduly burdensome, irrelevant, and immaterial by seeking “all” documents

    “regarding any business” conducted with the FTX Entities while the Complaint in this matter is

    directed only to Plaintiffs’ alleged losses on YBAs. Further, the term “business . . conducted with

    FTX Entities” is vague and ambiguous to the extent that “business” is undefined and whether this

    includes such “business” “conduction directly or indirectly.             The foregoing objections

    notwithstanding, Defendant Singh has no documents or communications in his possession, custody

    or control regarding or relating to business conducted in the State of Florida.

    REQUEST 2

           2.      All videos or other content You (personally or through any entity owned by You,

    or any of Your or Your entities’ affiliates, representatives, employees or agents) produced

    regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

    or content that have been removed from their public facing platforms.

    RESPONSE TO REQUEST 2:

           Defendant Singh objects to this Document Request on the basis that this Request is contrary

    to the Court’s May 19, 2023 Order allowing for jurisdictional discovery on personal jurisdiction

    only (Doc. No. 96). This request seeks content beyond anything that might relate to personal

    jurisdiction and is instead directed to merits issues. Defendant Singh further objects to this Request

    on the basis that it is overly broad, unduly burdensome, irrelevant, and immaterial by seeking video

    and content “regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs”

    while the Complaint is limited to liability allegations of actively promoting YBAs. The foregoing



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    objections notwithstanding, Defendant Singh has no video or other content in his possession,

    custody or control regarding or relating to business conducted in the State of Florida.

    REQUEST 3

           3.      All Documents and Communications, that show, evidence, and/or relate to

    Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX customers.

    RESPONSE TO REQUEST 3:

           Defendant Singh objects to this Document Request on the basis that this Request is vague

    and ambiguous by requiring a legal determination as to what would be regarded as “targeting.”

    The foregoing objection notwithstanding, Defendant Singh does not have any responsive

    documents or communications in his possession, custody, or control regarding or related to any

    targeting in the State of Florida.

    REQUEST 4

           4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’

    affiliates, representatives, employees or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

    RESPONSE TO REQUEST 4:

           Defendant Singh objects to this Document Request on the basis that this Request is contrary

    to the Court’s May 19, 2023 Order allowing for jurisdictional discovery on personal jurisdiction

    only (Doc. No. 96). This Request seeks documents and communications beyond anything that

    might relate to personal jurisdiction and is instead directed to merits issues. Defendant Singh

    further objects to this Request on the basis that it is overly broad, unduly burdensome, irrelevant,

    and immaterial by seeking documents and communications regarding “any and all



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    communications” “with the FTX Entities regarding promotion of FTT, YBAs or the FTX

    Platform” while the Complaint is limited to liability allegations of promoting YBAs. The

    foregoing objections notwithstanding, Defendant Singh has no documents or communications in

    his possession, custody or control regarding or relating to any promotion activity in the State of

    Florida.

           REQUEST 5

           5.      All Documents regarding any and all due diligence You (personally or through any

    entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees or

    agents) conducted before promotion of FTT, YBAs, or FTX Platform to the public.

    RESPONSE TO REQUEST 5:

           Defendant Singh objects to this Document Request on the basis that this Request is contrary

    to the Court’s May 19, 2023 Order allowing for jurisdictional discovery on personal jurisdiction

    only (Doc. No. 96). This Request seeks documents and communications beyond anything that

    might relate to personal jurisdiction and is instead directed to merits issues.   Defendant Singh

    further objects to this Request on the basis that it is overly broad, unduly burdensome, irrelevant,

    and immaterial by seeking “[a]ll Documents regarding any and all due diligence . . .conducted

    before promotion of FTT, YBAs, or FTX Platform to the public” while the Complaint is limited

    to liability allegations of promoting YBAs. Further, this Request is vague and ambiguous as

    requiring a legal determination of what constitutes “due diligence.” The foregoing objections

    notwithstanding, Defendant Singh has no documents in his possession, custody or control

    regarding or relating to any promotion activity in the State of Florida.

    REQUEST 6




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           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs, or FTX Platform.

    RESPONSE TO REQUEST 6:

           Defendant Singh objects to this Document Request on the basis that this Request is contrary

    to the Court’s May 19, 2023 Order allowing for jurisdictional discovery on personal jurisdiction

    only (Doc. No. 96). This Request seeks documents and communications beyond anything that

    might relate to personal jurisdiction and is instead directed to merits issues. Defendant Singh

    further objects to this Request on the basis that it is overly broad, unduly burdensome, irrelevant,

    and immaterial by seeking documents and communications regarding the promotion of FTT,

    YBAs, or FTX Platform while the Complaint is limited to liability allegations of promoting YBAs.

    The foregoing objections notwithstanding, Defendant Singh has no documents or communications

    in his possession, custody or control regarding or relating to discussion concerning the State of

    Florida.

    REQUEST 7

           7.       All Documents that show, evidence and/or relate to Your purchases, ownership, or

    control of FTT, including any wallet addresses controlled by You related to Your FTT holdings.

    RESPONSE TO REQUEST 7:

           Defendant Singh objects to this Document Request on the basis that this Request is contrary

    to the Court’s May 19, 2023 Order allowing for jurisdictional discovery on personal jurisdiction

    only (Doc. No. 96). This Request seeks documents and communications beyond anything that

    might relate to personal jurisdiction and is instead directed to merits issues. Defendant Singh

    further objects to this Request on the basis that it is overly broad, unduly burdensome, irrelevant,



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    and immaterial by seeking documents relating ownership of FTT while the Complaint is limited

    to liability allegations of promoting YBAs. The foregoing objections notwithstanding, Defendant

    Singh does not have any responsive documents in his possession, custody, or control.




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                                      Respectfully submitted,
   Dated: May 29, 2023
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                                   CERTIFICATE OF SERVICE

          The undersign hereby certifies that a true and correct copy of the foregoing was furnished

   via email on this 29th day of May, 2023 to:

    Adam M. Moskowitz, Esq.                          Stuart Z. Grossman, Esq.
    Joseph M. Kaye, Esq.                             Manuel A. Arteaga-Gomez, Esq.
    Howard Bushman, Esq.                             GROSSMAN RATH YAFFA COHEN, P.A.
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   Dated: May 29, 2023                           /s/ Michael O. Cummings
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